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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES OF AMERICA,                     )
                                                )
                         Plaintiff,             )
                                                )
  vs.                                           )       Case No. 17-CR-093-GKF
                                                )
  BALEY LYNN ENLOE, a/k/a “Bailey               )
  Enloe”, et al.                                )
                                                )
                         Defendant.             )

                                               ORDER

         This matter comes before the Court on Defendant’s Motion to Continue Sentencing Date

  (the “Motion”) (Doc #165) filed by the Defendant, Baley Lynn Enloe.       For the reasons set forth

  therein, the Court finds that the Motion should be and is hereby GRANTED.

         IT IS THEREFORE ORDERED, that the sentencing hearing currently scheduled for

  April 5, 2018, is stricken.   The sentencing hearing will be held on April 26, 2018, at 1:30 p.m.

         IT IS SO ORDERED this 26th day of March, 2018.




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